                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                 FAYETTEVILLE DIVISION


 FAYETTEVILLE PUBLIC LIBRARY, a political
 subdivision in the City of Fayetteville, State of
 Arkansas; et al.                                                                     PLAINTIFFS


 v.                                  NO. 5:23-CV-05086


 CRAWFORD COUNTY, ARKANSAS; et al.
                                                                                   DEFENDANTS


                               DECLARATION OF KANDI WEST
      I, Kandi West, pursuant to 28 U.S.C.§ 1746, do declare:

      1. I am the co-owner of WordsWorth Books, an independent bookstore that sells new books

and gifts in historic heights neighborhood in Little Rock, Arkansas, a plaintiff in this action. I

make this declaration in support of plaintiffs’ motion for summary judgment.

      2. WordsWorth Books sells books for people of all ages, and regularly hosts author events

and children’s storytime events. Our customers range in age from babies to senior citizens and

include students who are 16-17 years of age, and therefore minors. Often parents and

grandparents and other adults browse the store with younger children, and there is no section

from which younger children are restricted.

      3. Section 1 of Act 372 of 2023 (“Act 372”) prohibits making books that are “harmful to

minors” available to minors, forcing this large quantity of constitutionally protected materials to

be segregated, and not prominently displayed.




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    4. We fear that anyone who works at our store may be at risk of prosecution under Section 1

for permitting minors to view or access constitutionally protected material which might be deemed

“harmful to minors” under the meaning of the statue.

    5. I am unclear how I or my staff would know which books may meet the standard to be

“harmful to minors” under Arkansas’ variable obscenity statue, but our bookstore may contain

hundreds of books with sexually related narrative that might be deemed “harmful to minors” and

those books fall in many literary genres, such as fiction, nonfiction, romance, photography, health,

art/photography, and new releases. These are sold in different sections of the store. Examples of

books we carry that could be appropriate for a 17-year old but perhaps not a 10-year old include:

“The Hate U Give” by Angie Thomas; “Speak” by Laurie Halse Anderson; “The Color Purple” by

Alice Walker; “Maus I: A Survivor's Tale: My Father Bleeds History” and “Maus II: A Survivor's

Tale: And Here My Troubles Began” by Art Spiegelman; “The Catcher in the Rye” by JD Salinger;

“The Bluest Eye” by Toni Morrison; “The Book Thief” by Markus Zusak; and “Looking for

Alaska” by John Green.

    6. Adults generally become acquainted with our books when they are readily visible. While

many customers come into WordsWorth Books asking for a specific title, many more discover a

new title while browsing. If titles were hidden away, those sales would be lost. The prominent

display of books shelved or displayed on tables in an orderly, easily accessible manner in an

atmosphere conducive to browsing is essential for our commercial success, and also essential to

fulfill our goal of connecting readers with books.

    7. None of the options available to us to comply with Section 1 of Act 372 are tenable:

            a. We could bar all patrons under the age of 18 from entering the bookstore. This

                would alter our purpose. This would also dramatically affect children and young




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                adult book sales, and of course our events for children, and would imply the store

                only sold “adult” books, which would be immensely detrimental to business.

                Further, it would prevent older minors from perusing and purchasing materials

                constitutionally protected as to them.

            b. We could limit our inventory to books or other items not regulated by Section 1. It

                would be hard to determine what category many books fall into and would curtail

                the availability of a number of very popular books, including some bestsellers.

                Thus, this alternative is not practically or commercially feasible. In addition, this

                alternative would create practical difficulties in ordering new books because we

                often do not have the opportunity or the time to review books before ordering them.

                This alternative would also prevent older minors from perusing and purchasing

                materials constitutionally protected as to them

            c. Alternatively, we could place all materials that could be deemed “harmful to

                minors” behind a counter, but, given the large number of constitutionally protected

                books involved, that would entail a restructuring of the store to ensure space. Since

                the display of books is crucial to book sales, this would also hurt sales. This option

                would also necessitate that our employees perform the difficult task of designating

                books across multiple genres as “harmful to minors.” This too would restrict the

                ability of adults and older minors to peruse and purchase materials constitutionally

                protected as to them.

            d. We could also designate a room “adults only.” This would, like the “behind the

                counter” option, potentially involve costly renovations and burden employees with

                the separation of books. Further, this new room would be difficult to monitor,




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                necessitating keys or electronic access (which would also entail additional costs)

                and would be confusing to patrons. That kind of segregation would also lead to

                drop in sales of the segregated books, as many adults would be hesitant to go into

                an “adults only” room. As with the other alternatives, this would restrict the ability

                of adults and older minors to peruse and purchase materials constitutionally

                protected as to them.

    8. For all the reasons stated above, we fear prosecution under Section 1. If Section 1 is not

held unconstitutional, we will be forced to self-censor materials and restrict available in our stores

to a great degree and to great business detriment, or risk criminal liability.




I declare under penalty of perjury that the foregoing is true and correct.

Executed on this 10th day of May, 2024.

                                               /s/ Kandi West
                                               Kandi West




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